     Case 3:08-cr-00086-HEH Document 25 Filed 06/19/08 Page 1 of 2 PageID# 156




                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Richmond Division


UNITED STATES OF AMERICA,                               )
                                                        )
v.                                                      ) Criminal No. 3:08CR86
                                                        )
MATTHEW S. HAISLIP                                      )


                      GOVERNMENT'S MOTION FOR CONTINUANCE

         COMES NOW the United States of America, by and through the undersigned Assistant

United States Attorney and moves for a continuance of the jury trial in this case for purposes of

allowing the defendant to be assessed for admission into the Pretrial Diversion Program. In

support of its motion, the United States represents the following:

         1. On May 1, 2007, the defendant was charged in an Indictment with being an unlawful

user of controlled substances and did knowingly and unlawfully possess a firearm, in violation of

Title 18, United States Code, Section 922(g)(3).

         2. The defendant was referred to the Pretrial Diversion program on April 30, 2008, and

was accepted as a candidate into the diversion program on June 12, 2008 for a period of nine

months.

         3. A trial is not currently scheduled in this matter.

         Accordingly, the United States respectfully requests that this matter be continued until

March 20, 2008 at 9:00a.m., to allow the defendant to participate in the Pretrial Diversion

program. It is represented that the defendant and defense counsel are aware of, and join in, this

motion.
Case 3:08-cr-00086-HEH Document 25 Filed 06/19/08 Page 2 of 2 PageID# 157




                                       Respectfully submitted,

                                       CHUCK ROSENBERG
                                       UNITED STATES ATTORNEY


                                   By: ______________________________
                                        Charles E. James, Jr.
                                        Assistant United States Attorney
